Information to identify the case:

Debtor 1:
                      NATHAN ALLEN CHRISTIAN                                     Social Security number or ITIN:   xxx−xx−4959
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        District of Arizona                       Date case filed for chapter:        7     5/18/22

Case number:           4:22−bk−03189−BMW

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     NATHAN ALLEN CHRISTIAN

2.        All other names used in the
          last 8 years

3.      Address                                  860 S. JOHN WAYNE PKWY
                                                 MARICOPA, AZ 85139

4.      Debtor's attorney                        CANDACE E KALLEN                                     Contact phone 480−833−8000
                                                 MY ARIZONA LAWYERS                                   Email: candace@myazlawyers.com
        Name and address                         1731 W BASELINE RD STE 101
                                                 MESA, AZ 85202

5.      Bankruptcy trustee                       BRIAN J. MULLEN                                      Contact phone 602−283−4468
                                                 PO BOX 32247                                         Email: bmullen@bktrustee.phxcoxmail.com
        Name and address                         PHOENIX, AZ 85064
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




     Case 4:22-bk-03189-BMW                         Doc 5 Filed 05/19/22 Entered 05/19/22 07:57:07                              Desc Ch
                                                   7 First Mtg I/J No POC Page 1 of 2
Debtor NATHAN ALLEN CHRISTIAN                                                                                    Case number 4:22−bk−03189−BMW


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court, Arizona                                 Office Hours:
                                                38 S. Scott Avenue                                             8:30 am − 4:00 pm Monday−Friday
    Documents in this case may be filed at this Tucson, AZ 85701−1704
    address. You may inspect all records filed
    in this case at this office or online at                                                                   Contact Phone: (520) 202−7500
    pacer.uscourts.gov.
                                                                                                               Date: 5/19/22

7. Meeting of creditors                          July 1, 2022 at 10:00 AM                                      Trustee: BRIAN J. MULLEN
                                                                                                               Call in number: 866−819−3854
    Debtors must attend the meeting to be        BY TELEPHONE                                                  Passcode: 8713604
    questioned under oath. In a joint case,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       The meeting may be continued or adjourned
                                                 to a later date. If so, the date will be on the
                                                 court docket.

8. Presumption of abuse                          Insufficient information has been filed to date to permit the clerk to make any
                                                 determination concerning the presumption of abuse. If more complete information,
    If the presumption of abuse arises, you      when filed, shows that the presumption has arisen, creditors will be notified.
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge                     Filing deadline: 8/30/22
                                               or to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as           conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize
                                                 an exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of claim unless   that you may file a proof of claim and stating the deadline.
    you receive a notice to do so.               Deadline for holder(s) of a claim secured by a security interest in the debtor's principal residence (Rule
                                                 3002(c)(7)(A): 70 Days from Case Filed Date.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at pacer.uscourts.gov. If you believe that the law does not authorize
                                                 an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                                 the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2




    Case 4:22-bk-03189-BMW                        Doc 5 Filed 05/19/22 Entered 05/19/22 07:57:07                                             Desc Ch
                                                 7 First Mtg I/J No POC Page 2 of 2
